Case 2:19-cv-00881-JNP            Document 323          Filed 08/21/23     PageID.13785     Page 1 of
                                                    7




                            IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF UTAH


  LIBERTY MUTUAL FIRE INSURANCE,                        MEMORANDUM DECISION AND
                                                        ORDER GRANTING MICHAEL BAKER
                           Plaintiff,                   INTERNATIONAL’S MOTION TO
  v.                                                    CORRECT THE RECORD (ECF NO.
                                                        305) AND DENYING LIBERTY
  MICHAEL BAKER INTERNATIONAL,                          MUTUAL’S MOTION TO BIFURCATE
  INC.; JOELLE SATTERTHWAITE;                           TRIAL (ECF NO. 312)
  JACKSON SATTERTHWAITE; and
  AUDREY J. YAEGER,                                     Case No. 2:19-cv-881-JNP-DAO

                           Defendants.                  District Judge Jill N. Parrish

                                                        Magistrate Judge Daphne A. Oberg


            Before the court is a motion to correct the record (ECF No. 305) filed by Defendant and

 Counter-Claimant Michael Baker International, Inc. (“MBI”) and a motion to bifurcate trial

 (ECF No. 312) filed by Plaintiff Liberty Mutual Fire Insurance (“Liberty”). After considering the

 parties’ written submissions, the court grants MBI’s motion and denies Liberty’s motion.

       I.      MOTION TO CORRECT THE RECORD

            MBI moves for the court to amend the memorandum decision and order denying its motion

 for partial summary judgment. ECF No. 319 (originally filed under seal as ECF No. 299).

 Specifically, MBI requests that the court alter its description of two facts unrelated to the outcome

 of the motion. To be clear, MBI does not seek reconsideration of the outcome, it simply desires a

 revision of the court’s non-material factual findings.

       A. VGIC’S FINANCIAL STATUS

            First, MBI moves for the court to delete its statement that it “goes undisputed that VGIC

 was underfunded.” ECF No. 319 at 18 n.7. MBI argues that the Vermont General Insurance
Case 2:19-cv-00881-JNP          Document 323           Filed 08/21/23    PageID.13786        Page 2 of
                                                   7



 Company (“VGIC”), its wholly owned captive insurer, was not underfunded. It also points out that

 it disputed Liberty’s assertion on this point in its briefing. The court grants MBI’s motion as to

 this fact and agrees to delete the memorandum decision’s reference to VGIC’s financial state.

        As an initial matter, it appears that there is a genuine dispute over the financial state of

 VGIC. To make the case that VGIC was not fully capitalized, Liberty cited to deposition testimony

 by MBI’s 30(b)(6) witness, Adam Phillips, who was MBI’s Vice President and Corporate

 Controller. The original transcript of Phillip’s testimony states that VGIC failed to pay MBI’s

 defense counsel in the Satterthwaite case because of a “low-of-funds issue.” ECF No. 272-1 at

 211, 26:2. MBI provides evidence that the transcription of this remark was in error by producing

 a request for a correction to the transcript, dated November 25, 2020, in which MBI’s attorneys,

 on behalf of Phillips, sought to amend the transcript to show that Phillips actually stated that MBI’s

 lack of payment was due to a “flow-of-funds issue.” ECF No. 305-1. Additionally, during the same

 deposition Liberty directly asked Phillips whether VGIC maintained sufficient funds to pay MBI’s

 defense counsel. ECF No. 272-1 at 211, 26:8-9. Phillips answered “yes.” Id. at 26:10. In sum, these

 facts indicate that VGIC’s financial state is in dispute.

        Moreover, the court missed that the only two statements of additional facts contained in

 Liberty’s opposition brief that MBI did not dispute were Additional Fact Nos. 26 and 30. ECF No.

 289 at 9. MBI’s reply brief states that “Michael Baker does not dispute Liberty’s Additional Fact

 Nos. 26 and 30. Unfortunately, all of Liberty’s other purported facts are inadmissible or

 immaterial.” ECF No. 289 at 9. Liberty asserted that MBI kept VGIC underfunded in Additional




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Case 2:19-cv-00881-JNP          Document 323           Filed 08/21/23    PageID.13787         Page 3 of
                                                   7



 Fact No. 49. Thus, it was inaccurate for the court to state that facts pertaining to VGIC’s financial

 state were undisputed. 1

         Because it was disputed that VGIC was underfunded, the court will modify its

 memorandum decision to delete its reference to VGIC’s financial state.

     B. MBI’S INSURANCE POLICY

         Second, MBI requests that the court alter its description of how the deductible for its

 commercial general liability policy (“CGL policy”) with Liberty functioned. The court grants

 MBI’s motion and agrees to modify this language.

         The memorandum decision and order denying MBI’s motion for partial summary judgment

 stated that

         MBI’s general liability policy with Liberty is capped at $2,000,000, and includes a
         $250,000 deductible. Accordingly, if MBI were to prevail in this coverage
         litigation, it would pay $750,000 of the settlement, Liberty would pay $1,750,000,
         and Lloyd’s would pay the rest. If Liberty were to prevail, MBI would pay
         $2,500,000 of the Satterthwaite settlement and Lloyd’s would pay the rest. Lloyd’s
         liability to the Satterthwaites is the same in each scenario.

 ECF No. 319 at 18 (citations omitted). MBI admits that the court was correct in finding that the

 CGL policy was subject to a $250,000 deductible, but it argues that the deductible did not function

 as the court expected because of an endorsement modifying its terms. The ultimate outcome of

 this modification is allegedly that “the entire $2,000,000 limit remains available for Liberty to pay

 as damages for the Satterthwaite settlement.” ECF No. 305 at 6. On the other hand, Liberty argues


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   Citing DUCivR 56-1(c)(3), Liberty argues that simply stating that a fact was disputed in a reply
 brief is not enough to create a dispute of fact, and that an explanation as to why the fact is disputed
 is needed before the court takes the dispute seriously. If the question before the court were whether
 there was a material dispute of fact as to this issue that would decide summary judgment, the court
 would agree that MBI’s fact-free attempt to dispute the fact in its reply brief was insufficient. But
 here, the issue is the accuracy of the court’s statement that “it goes undisputed that VGIC was
 underfunded.” That statement was inaccurate. Moreover, all parties agree that the sufficiency of
 VGIC’s funding was immaterial to the outcome of the motion.

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Case 2:19-cv-00881-JNP            Document 323          Filed 08/21/23    PageID.13788        Page 4 of
                                                    7



 that the court accurately described the workings of the GCL policy. It maintains that “the [c]ourt

 is correct that if MBI prevails on coverage it would be entitled to net $1,750,000 (which is policy

 limit minus deductible).” ECF No. 307 at 5.

           The court need not delve into the nitty gritty of the CGL policy. Whether MBI can access

 the full policy limit of $2,000,000 or only $1,750,000 was immaterial to the outcome of the motion

 for partial summary judgment. The reason the court discussed this issue was merely to show that

 “[r]egardless of whether Liberty or MBI wins the coverage suit, Lloyd’s settlement payment to the

 Satterthwaites will not change.” ECF No. 319. It does not matter whether the court adopts Plaintiff

 or Defendant’s interpretation of the policy. The court’s logic still holds.

           Rather than accept either party’s suggestion for amending the memorandum decision, the

 court will modify the passage at issue to remove the contested fact entirely. The new language is

 as follows:

           MBI’s general liability policy with Liberty is capped at $2,000,000, and includes a
           $250,000 deductible. Accordingly, if MBI were to prevail in this coverage
           litigation, Liberty and MBI would together pay $2,500,000, and Lloyd’s would pay
           the rest. If Liberty were to prevail, MBI would pay $2,500,000 of the Satterthwaite
           settlement and Lloyd’s would pay the rest. Lloyd’s liability to the Satterthwaites is
           the same in each scenario.

 This phrasing retains the court’s reasoning but resolves the impasse between the parties.

    II.        MOTION TO BIFURCATE TRIAL

           Pursuant to Federal Rule of Civil Procedure 42(b), Liberty moves to bifurcate the trial into

 two phases: one to determine Liberty’s coverage liability and one to address MBI’s bad faith

 claims.

           Rule 42(b) provides: “For convenience, to avoid prejudice, or to expedite and economize,

 the court may order a separate trial of one or more separate issues, claims, crossclaims,

 counterclaims, or third-party claims.” “Thus, bifurcation of issues for trial is appropriate where the


                                                    4
Case 2:19-cv-00881-JNP          Document 323           Filed 08/21/23    PageID.13789         Page 5 of
                                                   7



 court finds (1) that convenience of a particular party or both parties together favors separate trials;

 (2) that expedition or economization of time and resources favor separate trials; or (3) that

 prejudice would result to one or more parties if separate issues were tried in a single trial.” Vine v.

 GEICO Indemn. Co., No. 1:17-cv-00010-JNP-DBP, 2017 WL 3498680, at *1 (D. Utah Aug. 15,

 2017) (citations omitted). “Although bifurcation ‘is not to be routinely ordered,’ this court

 nonetheless has ‘broad discretion in deciding whether to sever issues for trial and the exercise of

 that discretion will be set aside only if clearly abused.’” Id. (internal citations omitted). “The

 burden is on the defendant [or counterclaim defendant] to convince the court that a separate trial

 is proper in light of the general principle that a single trial tends to lessen delay, expense, and

 inconvenience to all parties.” Sensitron, Inc. v. Wallace, 504 F. Supp. 2d 1180, 1186 (D. Utah May

 2, 2007) (quoting Patten v. Lederle Labs, 676 F. Supp. 233, 238 (D. Utah Nov. 2, 1987)). Here,

 Liberty cannot overcome the presumption that a single trial is proper. To illustrate why, the court

 examines each of the three Rule 42(b) factors—prejudice, convenience, and efficiency.

        First, Liberty argues that a single trial will cause confusion that only bifurcation can

 ameliorate. The court is unconvinced that any confusion would result from trying the coverage and

 bad faith claims together. Jurors are intelligent. With instructions explaining the differences

 between these claims, there is little risk that a jury will improperly conflate them.

        As for the risk of prejudice posed by the introduction of evidence related to Liberty’s bad

 faith behavior, the court finds that bifurcating the trial would not avoid the risk of prejudice

 described by Liberty. In Vine, this court held that an insurer would suffer undue prejudice if the

 insured’s contractual claim and bad faith claim were tried in the same trial before the same jury.

 2017 WL 3498680, at *2. This was because “evidence regarding [the insurer’s] internal claims

 handling process [was] crucial to any defense to the bad faith claim, but irreparably damning in



                                                   5
Case 2:19-cv-00881-JNP          Document 323           Filed 08/21/23    PageID.13790         Page 6 of
                                                   7



 the context of the contractual claim.” Id. The court chose to bifurcate the trial because doing so

 could successfully eliminate the risk of prejudice to the insurer.

        The present case is distinguishable. In Vine, both parties agreed to bifurcate the trial—they

 merely disagreed on whether the court should also bifurcate discovery and whether a second jury

 was needed for the bad faith trial. Id. at *1. Here, MBI objects to bifurcation. Moreover, in Vine,

 there was no allegation that a contractual ambiguity entitled the insured to introduce parol evidence

 during the coverage phase of the trial. In the present case, parol evidence is essential to the

 resolution of the coverage issue and there is little doubt that evidence related to the bad faith claim

 will be used to establish the meaning of the “professional services” exception. For instance,

 evidence pertaining to the parties’ course of dealings will likely be essential in establishing both

 coverage liability and Liberty’s bad faith dealing as discussed in the court’s first memorandum

 decision and order denying Liberty’s motion for summary judgment. ECF No. 157 at 14 (citing

 Metal Marketplace, Inc. v. United Parcel Serv., 733 F. Supp. 976, 978–79 (E.D. Pa. Mar. 16,

 1990). The court is cognizant that it will have to provide instructions to the jury to help separate

 the bad faith issue from the coverage issue. Such guidance will possibly involve explaining that

 evidence of settlement negotiations is not evidence that an insurer has admitted coverage liability.

 But realistically, the risk of prejudice resulting from evidence showing Liberty’s allegedly bad

 faith acts would exist even in a bifurcated trial. Bifurcation is, thus, not an effective solution like

 it was in Vine.

        Even if bifurcation could reduce some of the potential prejudice Liberty would face in a

 single trial, the court would still deny the motion. Liberty cannot overcome the presumption that a

 single trial would lessen delay, expense, and inconvenience. See Sensitron, Inc., 504 F. Supp. 2d

 at 1186. First, there are overlapping facts that would be discussed in both trials. It would be



                                                   6
Case 2:19-cv-00881-JNP           Document 323            Filed 08/21/23    PageID.13791          Page 7 of
                                                     7



 inefficient for the court to hear these facts twice, wasteful for the parties to prepare to present these

 facts twice, and inconvenient for witnesses who will have to testify to these facts twice. 2 Second,

 this case has been ongoing for nearly four years and it involves a car crash that occurred at the

 beginning of 2018. Holding two trials would postpone the resolution of the case even further and

 continue the pattern of delay that is endemic to this dispute. 3

         In sum, Liberty has not shown that any strategic disadvantage it may suffer hangs heavier

 in the balance than the significant detriment to convenience, economy, and efficiency that two

 trials would necessarily entail. Thus, the court denies Liberty’s motion to bifurcate.

                                      CONCLUSION & ORDER

         For the aforementioned reasons, the court GRANTS MBI’s motion to correct the record

 and DENIES Liberty’s motion to bifurcate the trial. The court will also file a corrected version of

 its memorandum decision and order denying MBI’s motion for partial summary judgment.



                 DATED August 18, 2023

                                                 BY THE COURT



                                                 ______________________________
                                                 Jill N. Parrish
                                                 United States District Court Judge



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   Liberty argues that if the court bifurcates the trial, only one trial will likely occur because it would
 win on the coverage issue, obviating the need for a second trial on the bad faith issue. Without
 ruling on the contested issue of whether a second trial would be legally necessary in such a
 scenario, the court refuses to make a decision based solely on the “best-case” outcome of the first
 trial. While merely holding a trial on the coverage issue would save time, the risk of massive
 inefficiency and expense posed by a second trial is too massive to ignore.
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  There have been three motions for summary judgment and motions to reconsider portions of
 two of them.

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